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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

ESTATE OF KEZHENGGUANG,

                                      Petitioner,

                 - against-
                                                      8: 18-cv-03 546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                    Respondent.




                            DECLARATION OF STEPHANY YU

       1.      I am the respondent in this case, and submit this declaration in support of my

motion to dismiss the case. Unless indicated otherwise, the statements in this declaration are

based on my personal knowledge, and the exhibits are true copies of the originals.

       2.      I am a Chinese native and, until moving with my family to Maryland in 2016, had

lived most of my life in China. I maintain a residence in China, and frequently travel there for

business.

       3.      In the early 2000s, I was among a group of business partners that formed Oasis

Investment Group Limited ("Oasis") to buy and develop real estate in China. The other partners

were Ke Zhengguang, Xu Hongbiao and my two sisters, Naiwen and Naijun.

       4.      In April 2010, the partners and certain of their affiliated entities entered into a

written agreement to separate their interests in Oasis, entitled "Agreement on the Implementation

of 'The Preliminary Share Restructuring Agreement"' (the "2010 Agreement") . The 2010
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Agreement referred to my sisters and I as the "Controlling Shareholders" and to Messrs. Ke and

Xu as the "Non-controlling Shareholders."

       5.      The 2010 Agreement included multiple, complex provisions detailing how the

parties interests were to be divided. As is relevant here, the 2010 Agreement contemplated that

Oasis and the Controlling Shareholders would cause a subsidiary of Oasis, Shanghai Greencourt

Real Estate Development Limited, to sign an agreement transferring approximately 8,000 square

meters of commercial space in Shanghai to the Non-controlling Shareholders. (2010 Agreement

§ 3.1.) In exchange, a company controlled by the Non-controlling Shareholders was supposed to

sign an agreement transferring to Oasis and the Controlling Shareholders two "Villas," of

approximately 1,200 square meters, also located in Shanghai, China. (2010 Agreement§ 3.2.)

        6.      In February 2013, the Non-controlling Shareholders filed a Notice of Arbitration

against Oasis and against the Controlling Shareholders to raise various disputes regarding the

implementation of the 2010 Agreement. One of the Non-controlling Shareholders, Mr. Ke, died

during the arbitration, and his interests were pursued by his wife and daughter, as the

administrators of his estate (the "Estate"), the petitioner in this case.

        7.      On February 28, 2018, the panel issued its award. As is relevant here, the panel

found that the Controlling Shareholders breached the provision of the 2010 Agreement

concerning the swap of the commercial space for the two Villas. The Controlling Shareholders

did not believe the Villas offered by the Non-controlling shareholders met the requirements of

the 2010 Agreement, and, thus, instead of formally transferring the commercial space, allowed

the Non-controlling shareholders to use most of the commercial space (approximately 6,000 of

the 8,000 square meters) via an "authorization letter."




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       8.       The panel concluded that the Controlling Shareholders should have swapped the

commercial space for the Villas and thus were liable to the Non-controlling shareholders for the

rental value of the 2,000 square-meter portion that the Controlling Shareholders retained, which

the panel concluded was RMB 10,346,211 in the ninth part of the Award.

       9.      I disagree with that conclusion for reasons that we advanced in the arbitration but

which are not pertinent here. However, I have always been willing to pay the RMB 10,346,211

awarded, and repeatedly tried to do so. But one of the two claimants, the Estate, refused to

cooperate at every turn, insisting on payments being made to overseas bank accounts in

non-RMB currency.

       10.     On May 2, 2018, I paid half of the damages relating to the property exchange to

the other claimant, Xu Hongbiao, who provided details for a bank in China into which the funds

were wired.

       11.     The payment to Mr. Xu was made from Shanghai Greencourt Real Estate

Development Limited ("Greencourt"), the Oasis subsidiary that, according to the final award,

was supposed to transfer to the claimants, at the direction of me and the other respondents, the

commercial real estate that was the subject of the damages award. I paid this first half to Mr. Xu

based on the instruction from claimants' counsel that Mr. Xu was entitled to half of this portion

of the award. However, I do not know with complete certainty how the underlying obligation is

divided as between Mr. Xu and Mr. Ke, and have not received a release in return from Mr. Xu.

        12.    As mentioned, the other claimant, the Estate, has not been cooperative. We have

tried through multiple letters to get the Estate to cooperate with our making payment.

       13.     On March 23, 2018, counsel for the Estate sent a letter demanding payment of the

RMB 10,346,211 to a bank account that would be specified later. (Ex. 1, at 2.)



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        14.     On April 2, 2018, counsel for the Controlling Shareholders responded that we

were prepared to pay the amount, and asked that payment information be provided for a domestic

Chinese bank account. (Ex. 2, at 2.) The letter explained that, in light of China's strict foreign

exchange control laws, any payment to be made outside China would require the parties to

jointly apply to a bank to see if that would even be possible.

        15.     On April 13 , 2018, the Estate ' s counsel specified in bank in Hong Kong, and

demanded to be paid in "in Hong Kong dollars or other non-RMB currencies equivalent to RMB

5,173,105.5 (to be converted at the exchange rate published by the People's Bank of China as of

28 February 2018)." (Ex. 3 at 3.) The letter stated that the Estate was "entitled to designate

whatever bank account, be it a PRC or foreign bank account, that it considers appropriate" to

receive payment. (Id.)

        16.     On April 30, 2018, our counsel explained that the funds for payment were held in

China, "again invite[ d] [the Estate] to provide a bank account within China," and stated that

payment would be made within five business days thereafter. (Ex. 4 at 2.)

        17.     On May 9, 2018 , the Estate ' s counsel wrote back that "only payment . .. to a

foreign bank account will be accepted" and that the Estate was unwilling to "negotiate further."

(Ex. 5 at 3.)

        18 .    On May 14, 2018, our counsel again wrote to the Estate to reiterate that the we

have "always been willing to pay," but that the Estate had refused to provide the necessary bank

account infonnation. (Ex. 6, at 2-3) The letter pointed out that the award referred to payment in

RMB, not a foreign currency, and that the likelihood of Chinese officials authorizing the

payment to leave China was low. (Id. at 2.)




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       19.     On October 29, 2018, our counsel yet again implored the Estate to cooperate, and

made clear that we were prepared to pay as soon as the Estate provided proper bank account

information. (Ex. 7, at 10.)

       20.      On November 1, 2018, at my direction, Greencourt attempted to wire the funds to

the overseas bank account specified in the April 13, 2018, letter from the Estate's counsel.

(Ex. 8.) The wire was not allowed to go through, however, because, among other reasons, it

cannot be approved without proof that the proper taxes had been paid. Moreover, the payment of

such a large amount would be easily tracked by SAFE and, if found to be improper, could trigger

an investigation and regulatory action by SAFE.

        21.     In fact, my counsel in China, Jun He, contacted an official at the Shanghai

Foreign Currency Administration on a confidential basis, who stated that if SAFE were to be

alerted to the transaction, they would not allow Ke's Estate to receive the wire in Hong Kong.

        22.     The Estate never did provide the banking information and, instead, in November

2018, filed the petition in this case.

        23.     The Estate's attempts to collect judgment outside of China, and specifically in the

U.S. , are extremely frustrating and contrary to the intent of the Award and Chinese law.

Specifically, even though the ninth part of the Award states that I be jointly and severally

ordered to pay RMB 10,346,211 to the claimants, the party owing damages is actually

Greencourt. Greencourt, a limited liability company, owned and controlled the commercial space

on which the damages for lost rent are based. I am only an indirect shareholder, protected under

Chinese law from personal liability. In fact, the first part of the award (Order No. 1 on page 95 of

the translation) directs me only to "cause" Greencourt to transfer the commercial space in

exchange for the Villas - drawing the clear distinction between me and the company. I should



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not be personally held responsible for Greencourt's actions or any damages arising out of such

actions, and certainly not chased by claimants seeking to collect assets from me in the United

States, at the very least while Greencourt has assets in China that are more than sufficient to

satisfy the Award.

       24.     On December 31 , 2018, Greencourt sent a check for the full amount sought in this

case, RMBS ,173,105.50, to one of the lawyers representing the Estate in the arbitration, Eva

Yao, who works in the Shanghai office of the DLA Piper law firm. (Ex. 9.) As with the

payment to Mr. Xu, the payment was made from Greencourt, the Oasis subsidiary that, according

to the final award, was supposed to transfer to the claimants the commercial real estate that was

the subject of the damages award.

       25 .    On January 2, 2019, my U.S. counsel, Steptoe & Johnson LLP, then sent a copy

of that transmission, along with a certified translation of the check, to the U.S . counsel

representing the estate in this matter, Stephen A . Cash, and requested that the Estate dismiss this

case. (Ex. 10.) I understand that the check expired before being deposited. I am of course

willing and able to have a new check issued if the petitioner will accept it.

        26.    Given our repeated efforts to try to pay the award, I do not understand why this

litigation is necessary. If for whatever reason legal proceedings are necessary, they should take

place in China, which is where the underlying events took place. In addition, a proceeding in

China is better suited to ensuring that, if any payment is ordered, it will comply with Chinese

law. In this regard, I should note that there is already litigation in China relating to the

arbitration award. The award refers to the parties settling certain pre-existing debts (Order

No. 3), and one of those debts concerns amounts owed to the Controlling Shareholders from a

company that was controlled by Mr. Ke. Litigation relating to this debt is ongoing in China. I



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am of course willing to submit to the jurisdiction of a Chinese court to address the issues in this

case, as well (preserving of course any other defenses in such a proceeding).

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

       Executed on February _{,2,2019.
                                                      ~ 4 ~-
                                                                       ~-~---
                                                              Stephany Yu
                                                                                                      -




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               EXHIBIT 1
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                EXHIBIT 2
Case 8:18-cv-03546-PWG Document 31-2 Filed 02/15/19 Page 16 of 89




               City of Redondo Beach, State of California, County of Los Angeles

   I, Michael John Moss Jr., am a linguist hired by TransPerfect, a translation services that
   operates under both ISO 9001:2008 and EN 15038:2006 certification. I have been speaking
   the Mandarin dialect of Chinese for 22 years. I am a recipient of Certificate with distinction
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   The following document is, to the best of my knowledge and belief a true and accurate
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   2018.04.02 Letter

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   Sworn to before me this
   Monday, December 10, 2018
                                                                                    (1/11A 044      e
                                                       Michael John Moss iJr. Translator




           Signature, Notary Public




           Stamp, Notary Public
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CALIFORNIA JURAT WITH AFFIANT STATEMENT                                                  GOVERNMENT CODE § 8202


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State of California                                            Subscribed and sworn to (or affirmed) before me
County of     L,ii                      1
                                                              on this     W        day of     p 60.4.4_," 10 .<   , 20    11,
                                                             . by          Date                      Month               Year

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                  PAUL W. PEDERSON
              NOTARY PUBLIC- CALIFORNIA                        (and (2)                                                      ),
                COMMISSION # 2187280
                 LOS ANGELES COUNTY                                                   Name(s) of Signer(s)
               My Comm. Exp. April 18, 2021

                                                              proved to me on the basis of satisfactory evidence
                                                              to be the per     (s) ho a pared before me.


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3.   With regards to Order No. 9 of the Judgement (compensation for damages of RMB 10,346,211
     yuan)

     Shareholders are requested to provide the name and account information for the recipient of the
     RMB 10,346,211, and to clarify partition ratio between the two shareholders. Considering the fact
     that the currency of compensation for damages is in RMB, the Petitioner is requested to provide a
     domestic account for payment by the controlling shareholder within Mainland China. If the
     petitioning party wishes the payment to be made into a foreign account, in accordance with the
     requirements of the laws of China foreign exchange control, the respondent requires that the
     petitioning parties go together to a bank within China to learn specific procedures for overseas
     payments, and the petitioning parties are required to prepare respective materials to be submitted to
     the bank for review.
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             Please note that both the 1st Claimant and our client have agreed that the
             Outstanding Amount as defined in our Letter to Respondents dated 23 March is
             RMB 23,882,261.71 (i.e., the equivalent of RMB 27,043,906.83 minus HKD
             42,115 minus RMB 3,127,591.77). The HKD 42,115 is equivalent to RMB
             34,053.35 based on the exchange rate published by the People's Bank of China
             as of28 February 2018.

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             The 1 st and 2nd Claimants have also agreed that the Outstanding Amount is to
             be paid to the bank account of SJHC.

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             The Respondents are required to make immediate payment of RMB
             23,882,261.71 to the following PRC bank account of SJHC:

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             Account   mlE-'%:

        4.   Order 9: Damages in the Amount of RMB 10,346,211



             Our client refers to the 1st Claimant's letter dated 28 March 2018 and agree that
             the damages in the amount of RMB 10,346,211 should be paid by the
             Respondents in equal share to the bank account designated by the two
             respective Claimants.

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             Respondents are hereby requested to pay immediately 50% of RMB
             10,346,2 ll (i.e., RMB 5,173,105.5) to the following bank account of our client:



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                EXHIBIT 4
Case 8:18-cv-03546-PWG Document 31-2 Filed 02/15/19 Page 35 of 89




                City of Redondo Beach, State of California, County of Los Angeles

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    any of the parties named in the source document(s).


    Sworn to before me this
    Monday, December 10, 2018
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                                                       Michael John           ., Translator




            Signature, Notary Public




            Stamp, Notary Public
         Case 8:18-cv-03546-PWG Document 31-2 Filed 02/15/19 Page 36 of 89




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A. See Attached Document (Notary to cross out lines 1-6 below)
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County of        1.4 i A         vt   4   r
                                                                            on this        1 0 4.14 day of P f c,if ri lot c                        , 20    11    ,
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                                                                                                              Name(s) of Signer(s)

                                                                            proved to me on the basis of satisfactory evidence
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Page 2

     RMB 10,346,211 of total compensation payment

4.   Regarding Order No. 9 of the final judgement, considering that both of the 1st Petitioner and the 2nd
     Petitioner agree that the compensation payment of RMB 10,346,211 must be divided into two equal
     amounts and remitted into the respective bank accounts of the 1st Petitioner and the 2nd Petitioner.
     The Respondent agrees to pay the 2nd Petitioner compensation in the amount of RMB 5,173,105.5.
     However, since the cash available for payment by the Respondent is all located within China, and
     considering the long period of time required to process the application to transfer money out of
     China, the Respondent again invites the 2nd Petitioner to provide a bank account within China (if
     the 2nd Petitioner does not have an account within China, it could consider instructing the
     Respondent to remit the compensation payment to the domestic bank account of Siji Huacheng).
     The Respondent further agrees that within five (5) business days of receiving of the above domestic
     bank account information, it will remit RMB 5,173,105.5 into said bank account.
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                EXHIBIT 5
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                                                                                                              Baker & McKenzie

                                                                                                              14th Floor, Hutchison House
                                                                                                              10 Harcourt Road, Central
                                                                                                              Hong Kong SAR

                                                                                                              香港中環
                                                                                                              夏慤道十號
                                                                                                              和記大廈十四樓

Asia Pacific
                                                                                                              Tel: +852 2846 1888
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Kuala Lumpur*
Manila*                    Messrs SIDLEY AUSTIN 盛德律师事务所                                                       By Email 电子邮件送达:
Melbourne                                                                                                     yan.zhang@sidley.com
Seoul                      39/F, Two Int'l Finance Centre                                                     / fyeoh@sidley.com
Shanghai
Singapore                  Central, Hong Kong
Sydney
Taipei                     香港中环国际金融中心二期三十九楼
Tokyo
Yangon
Europe, Middle East        Attention 收件人: Ms. Yan Zhang / Mr. Friven Yeoh
& Africa
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Almaty
Amsterdam
Antwerp
                           Dear Sirs,
Bahrain
Baku
                           敬启者
Barcelona
Berlin
Brussels                   Case No.                                         HKIAC Arbitration No. 13028
Budapest
Cairo                      Claimants:                                       (1) 徐宏标 (2) 柯铮光
Casablanca
Doha                       Respondents:                                     (1) 绿洲投资集团有限公司 (2) 俞乃奋 (3) 俞乃雯 (4) 俞乃筠
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Dusseldorf
Frankfurt/Main
Geneva                     1.           We refer to your letter to us dated 30 April 2018. As instructed by our clients,
Istanbul
Jeddah*                                 we hereby reply as follows:
Johannesburg
Kyiv
London                                  兹提及贵方于 2018 年 4 月 30 日致我们的函件。依我方客户指示，我方答
Luxembourg
Madrid                                  复如下：
Milan
Moscow
Munich
Paris
                           Transfer of Shares in SJHC
Prague
Riyadh*
Rome                       四季花城股权转让
St. Petersburg
Stockholm
Vienna                     2.          With respect to SJHC’s audit report, business licence and articles of association
Warsaw
Zurich                                 (“SJHC’s Documents”), as indicated by our letter dated 26 April, the
Latin America                          Fengxian Economic Commission requires only SJHC, rather than SJHC’s
Bogota
Brasilia**
Buenos Aires
                                       shareholders, to submit SJHC’s Documents and other documents required for
Caracas                                the share transfer. SJHC’s Documents are not necessary for the Respondents’
Guadalajara
Juarez                                 preparation of the share transfer agreements and should not be used as a pretext
Lima
Mexico City                            for Respondents to delay the performance of their obligations under Order 5
Monterrey
Porto Alegre**                         and Order 7 of the Award. Therefore, the Respondents are requested
Rio de Janeiro**
Santiago                               immediately upon receipt of this letter to provide the Claimants with all
Sao Paulo**
Tijuana
Valencia
North America
Chicago                    Partners                                                                           Registered Foreign Lawyers
Dallas
                           CHAN, Edmond                             KENDALL, Susan       NG, Jason            ISAACS, Jonathan (New York)
Houston                    CHAN, Edmund                             KEOY, Soo Khim       POON, Anthony KS*    LAU, May (New Zealand)
Miami                      CHAN, Elsa SC                            KOO, Dorothea        SBUTTONI, Paolo      LEE, Won (New York)
New York                   CHAN, Pierre                             LEE, Christina       SEIB, Gary           LING, Amy (New York)
Palo Alto                  CHAN, Rico WK                            LEE, Lawrence        SIEKER, Steven       VANDEPOL, Mini (Melbourne, Australia)
San Francisco              CHAN, Ruby                               LEIGH, Nancy         SMITH, Christopher   WEISMAN, Richard (Massachusetts, New York)
Toronto                    CHENG, Barry WM                          LIU, Isabella        SMITH, David
Washington, DC             CHENG, Milton                            LOCKHART, Andrew W   TAM, Martin
                           CHEUNG, Debbie F                         LOO, Shih Yann       TAN, Loke-Khoon
* Associated Firm                                                                        TAN, Paul
** In cooperation with     CHEUNG, Kwun Yee                         MAN, Karen
                           CHONG, Hank                              MAN, Sophia          TANG, Cynthia**
Trench, Rossi e Watanabe                                                                 TSO, Grace
Advogados                  CROSSWELL, Stephen                       MCKENZIE, Rowan
                           FLEMING, David                           MURRAY, Liza         WAN, Shiu Man
                           HORMAN, Michael                          NG, Allen            WUT, Tracy
                           HUNG, Sally                              NG, Bryan

                           * Notary Public | ** China-Appointed Attesting Officer



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            relevant documents in the Respondents’ possession that SJHC requires for the
            purpose of SJHC’s submission to relevant authority for the share transfer. As
            per the list previously provided in our letter dated 26 April, the Respondents
            are requested to provide the Claimants with a copy of the new shareholder’s
            (i.e. Shibang) incorporation certificate that are notarized by a China appointed
            attesting officer in Hong Kong. In addition, the Respondents also need to
            provide the copies of the incorporation certificates of the existing shareholders
            (i.e. Lvting Zhiye and Kechuang) . In particular, the copy of the incorporation
            certificate of Lvting Zhiye needs to be notarized by a China appointed attesting
            officer in Hong Kong.

            关于四季花城的审计报告、营业执照和公司章程(“四季花城的文件”)
            事宜，如我方于 4 月 26 日的函件中所述，奉贤区经济委员会只要求四季
            花城，而非四季花城的股东，提交四季花城的文件以及股权转让所需其
            他文件。四季花城的文件对被申请人准备股权转让协议而言并非必要，
            也不应作为被申请人迟延履行其第 5 项和第 7 项命令之义务的借口。因
            此，我们要求被申请人在收到此信函后立即向申请人提供，被申请人所
            持有的四季花城为股权转让而需向相关部门提交的一切相关文件。根据
            之前我们在 4 月 26 日信函中所提供的文件清单，被申请人需要向申请人
            提供新股东（即世邦公司）经香港的中国委托公证人公证的主体资格证
            明。此外，被申请人也需要提供现有股东（即绿庭置业及科创公司）的
            主体资格证明文件。特别是，绿庭置业的主体资格证明也需要经香港的
            中国委托公证人公证。

            If there are other legitimate purposes for which the Respondents require the
            information requested in their last letter, please provide us with the above
            purposes so that we can assist to facilitate the transfer of shares as quickly and
            efficiently as possible.

            被申请人在其上一封信函中所要求提供的信息如果是另有其他合法目的，
            请将上述目的告知我方，以便我方能够尽量快速、高效地协助贵方完成
            股权转让。

       2.   According to your letter dated 30 April, we understand that the Respondents
            are preparing, and will provide, documents and agreements required for the
            transfer of SJHC shares to the Claimants by 10 May. Given the ample time the
            Respondents have had to prepare, we look forward to receiving such
            documents on 10 May.

            根据贵方 4 月 30 日的信函，我们了解被申请人正在准备，并即将于 5 月
            10 日前向申请人提供四季花城股权转让所需的文件和协议。鉴于被申请
            人早已被给予了充足的准备时间，我们期待于 5 月 10 日收到上述文件。

       3.   With respect to the governance structure of SJHC, this issue is not related to
            the HKIAC Arbitration No. 13028, and shall not constitute any excuse for
            Respondents’ further delay in performing any of their obligations under the
            Award. The change of the governance structure of SJHC is a matter to be
            discussed and agreed by both Claimants, and is to be exercised by the


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            Claimants after the share transfer of SJHC is completed under the Award. Any
            continued mention of changing the governance structure of SJHC prior to
            fulfilling the Respondents’ obligations under the Award will be considered as a
            further attempt to delay or refuse compliance with the Award, and our client
            will pursue all necessary actions to claim damages that might arise from such
            delay or violation of the Award.

            关于四季花城的治理结构，该等事宜与香港国际仲裁中心第 13028 号仲
            裁案件无关，也不应构成被申请人进一步迟延履行其在裁决项下任何义
            务的任何理由。此外，四季花城治理结构的变更应经两位申请人的讨论
            和同意，并在四季花城股权转让完成之后由申请人实施。在被申请人履
            行其裁决义务之前，如继续提及改变四季花城治理结构的事宜，将被视
            为进一步企图迟延或拒绝遵守裁决，我方客户将采取所有必要措施，对
            可能因该种迟延或违反裁决而产生的损失进行求偿。

       Damages in the amount of RMB 10,346,211

       数额为人民币 10,346,211 元的损失

       4.   As specified in our letter dated 13 April, our client has nominated the bank
            account for receiving payment of their 50% portion of damages under Order 9.
            In our letter, we pointed out clearly that, as a creditor under the Award, our
            client is entitled to designate whichever bank account, be it a PRC or foreign
            bank account, that it considers appropriate and to the extent permitted by law
            as the recipient of the monetary award. Our client wishes to reemphasize that
            only payment of 50% of RMB 10,346,211 (i.e., RMB 5,173,105.5) to a foreign
            bank account will be accepted by our client. Moreover, our client will not
            negotiate further with the Respondents on this matter, and we will commence
            legal proceedings in the competent jurisdictions without further notice in the
            event that Respondents continue to fail to comply with Order 9.

            如我方 4 月 13 日的信函所述，我方客户已指定银行账户以接收其在第 9
            项命令下 50%的赔偿金。我方信函中明确指出，作为裁决中的权利人，我
            方客户有权在法律允许的范围内指定其认为适当的银行账户（无论是中
            国或境外的银行账户）用以接收被申请人的付款。我方客户希望再次强
            调 ， 只 有 我 方 客 户 仅 接 受 贵 方 将 10,346,211 元 人 民 币 的 50% （ 即
            5,173,105.5 元人民币）支付至境外银行账户。此外，我方客户不会再就
            此问题与被申请人作进一步协商，如果被申请人继续不遵守第 9 项命令，
            我们将在不另行通知的情况下于有管辖权的法域提起法律程序。

       Settlement of the Intercompany-debts between the 1st Respondent and SJHC

       清结第一被申请人与四季花城的往来账目

       5.   Our client is confused with Respondents’ comments regarding the Outstanding
            Amount in your letter dated 30 April 2018. We understand that both
            Respondents and Claimants have no dispute over the Outstanding Amount as
            defined in our letter dated 23 March. In addition, at Respondents’ request, our



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            client has also provided the exchange rate applicable to HKD 42,115 and
            SJHC’s bank account for receiving the Outstanding Amount in our letter dated
            13 April. Is it Respondents’ position that they now disagree with the
            Outstanding Amount payable to SJHC? Do the Respondents now disagree with
            the exchange rate applied to HKD 42,115? If so, Respondents are requested to
            provide their reasons for the disagreement in the planned letter of 10 May. Any
            failure to respond will be deemed as Respondent’s confirmation of the
            Outstanding Amount.

            我方客户对贵方 2018 年 4 月 30 日信函中关于欠付金额的意见感到困惑。
            我方认为被申请人与申请人对我方 3 月 23 日信函中所定义的欠付金额均
            无争议。此外，依被申请人要求，我方客户也于 4 月 13 日信函中提供了
            42,115 元港币适用的汇率和四季花城用以接收欠付金额的银行账户。被
            申请人的立场是否为其现在对于应当支付给四季花城的未付金额持有异
            议？是否对 42,115 元港币适用的汇率持有异议？如确有异议的，被申请
            人应在其 5 月 10 日计划发出的信函中说明其产生异议的原因。若被申请
            人未作回应，将视作被申请人已确认上述欠付金额。

       6.   For the benefit of your client’s understanding, the purpose of the request to the
            Tribunal for the additional award on Order 3 is to ensure the efficiency and
            effectiveness of domestic enforcement proceedings, which is the natural and
            necessary next step if your client fails to comply with the Order voluntarily.

            为便于贵方客户理解，我方特此说明，向仲裁庭提出的关于第 3 项命令
            的补充裁决请求，其目的在于确保国内执行程序的效率和效力，而执行
            程序是贵方客户未能自愿遵守命令的情况下将当然且有必要进行的下一
            步骤。

       7.   In light of the above, we cannot see any reason for the Respondents’ continued
            delay in paying the Outstanding Amount under Order 3 of the Award, which
            were due on 28 March. If the Respondents fail to make payment immediately,
            our client will have no choice but to pursue all necessary actions to claim
            damages plus accrued interests and legal costs against the Respondents.

            鉴于以上，我们未能看到被申请人有任何原因可以继续迟延支付已于 3
            月 28 日到期的裁决第 3 项命令中的未付款项。若被申请人未能立即付款，
            我方客户将别无选择，而只能采取一切必要的行动向被申请人要求赔偿
            损失、应计利息以及法律费用。

       Transfer of two A2 Houses and Jiuting Property

       两幢 A2 型别墅和九亭商铺的转让

       8.   As previously requested by our client, please provide the following information
            and documents as soon as possible:

            如之前我方客户所要求的，请尽快提供以下资料和文件:

                 the detailed information of the transferee(s) for the A2 Houses;


                                                                                           4
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                   A2 型别墅受让人的具体信息；

                  the allocation of the total price between the two A2 Houses, if desired
                   (absence of a specific request for allocation will be construed as
                   acceptance of an equal allocation of price between the two A2 Houses of
                   RMB 36,000,000 each); and

                   如被申请人希望对总价进行分配的，烦请提供两幢 A2 型别墅之间
                   的总价分配（若无特定分配需将视作被申请人接受在两幢 A2 型别
                   墅之间平均分配价格，每幢别墅各为 36,000,000 元人民币）；以及

                  a draft "Shanghai Real Estate Sale Contract" for the Jiuting Commercial
                   Property.

                   九亭商铺的《上海市房地产买卖合同》初稿一份。

       9.    All of our client’s rights are hereby expressly reserved.

             兹明确保留第二申请人的所有权利。



       Yours faithfully

       此致



       Baker & McKenzie

       贝克·麦坚时国际律师事务所



       cc

       抄送

       Messrs C.L CHOW & MACKSION CHAN

       周卓立 陈启球 陈一理 律师事务所

       By Email 电子邮件送达：clc015@clcmc.com.hk / clc028@clcmc.com.hk




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     I. Order No. 9 (Regarding Jiu Ting Commercial’s compensation payment of RMB 10,346,211)

5.   Order No. 9 of the Final Judgement reads “The 2nd Respondent, 3rd Respondent and 4th Respondent
     are ordered to jointly pay the Respondent RMB10,346,211 as the compensation for damages…” It is
     an evident that Order No. 9 explicitly stipulates that the compensation payment must be made in
     RMB and does not require the respondent to make any overseas payments. In consideration of this
     fact, compensation payed domestically is not only permitted under Order No. 9, but also a more
     reasonable interpretation of this Order. In accordance with the relevant Chinese foreign exchange
     management regulations and operating practice, and in consideration of the fact that the Final
     Judgement does not require this payment to be made to a foreign account at a foreign entity, the
     probability of obtaining the relevant approval for a foreign exchange conversion and payment is very
     low.

6.   The Respondent has always been willing to perform the obligations under Order No. 9 of the Final
     Judgement, and in the last several weeks, it has been in constant contact with the two Petitioners
     regarding the mode of payment and account information.

7.   On March 28, the 1st Petitioner sent a letter to the Respondent, requesting a check from the
     Respondent for 50% of the corresponding amount in Order No. 9 in HKD made out to the 1st
     Petitioner’s Agent [see Appendix 2]. The respondent sent a letter to the two Petitioners on April 2,
     inviting them to provide the name and account information of the recipient of the compensation
     payment, and to further clarify the partition ratio between the two Petitioners, while advising that
     “Considering the fact that the currency of compensation for damages is in RMB, the petitioner is
     requested to provide a domestic account for payment by the controlling shareholder within
     Mainland China. If the petitioning party wishes the payment to be made into a foreign account, in
     accordance with the requirements of the laws of China foreign exchange control, the respondent
     requires that the petitioning parties go to a bank within China together to learn specific procedures
     for overseas payments, and the petitioning parties are required to prepare respective materials to be
     submitted to the bank for review.” However, the 2nd Petitioner has not sent a letter confirming that
     the compensation payment must be divided into two equal parts and remitted into the bank accounts
     designated by the 1st Petitioner and the 2nd Petitioner, respectively, until April 13. In addition, the 2nd
     Petitioner insisted on its request that the Respondent remit the payment into its foreign account in
     “HKD or other non-RMB currency” [see Appendix 3].
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8.   With regards to the 1st Petitioner’s portion of the compensation payment, the 1st Petitioner had
     agreed to have the payment made to its domestic bank account, and the Respondent had made the
     payment for the corresponding amount on May 2 to the account provided by the first Petitioner on
     April 6, and the 1st Petitioner has confirmed the receipt of this payment. [See Appendices 4 and 5]
     However, in its May 4 letter, the 2nd Petitioner completely ignored this important fact.

9.   Regarding the 2nd Petitioner’s portion of the compensation payment, on April 30, the Respondent
     again sent a letter to the 2nd Petitioner in the hope that the 2nd Petitioner would provide its domestic
     account as well as explaining the reason for requiring domestic payment of compensation [see
     Appendix 6]. The Respondent promised that if the 2nd Petitioner could provide a domestic account,
     the Respondent would pay the corresponding amount into said account within five business days
     after receiving the account information. Similarly, these facts were ignored and not mentioned in its
     May 4 letter either, and the Petitioner unilaterally accused the Respondent of deliberate delaying
     payment, which is neither objective nor fair.
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                EXHIBIT 7
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                City of Redondo Beach, State of California. County of Los Angeles

   I, Michael John Moss Jr., am a linguist hired by TransPerfect, a translation services that
   operates under both ISO 9001:2008 and EN 15038:2006 certification. I have been speaking
   the Mandarin dialect of Chinese for 22 years. I am a recipient of Certificate with distinction
   from the Court Interpretation and Translation Program at UCLA Extension and a voting
   member of the American Translators Association, membership number: 261961. I have
   studied Mandarin Chinese to English translation for 15 years.
   The following document is, to the best of my knowledge and belief a true and accurate
   translation from Chinese into English:

    2018.10.29 Letter

    TransPerfect Translations, Inc., a translation organization with over 90 offices on
    six continents, is a leader in professional translations. TransPerfect Translations,
    Inc. has over twenty years' experience translating in the above language pair, its
    work being accepted by business organizations, governmental authorities and courts
    throughout the United States and internationally.

    TransPerfect Translations, Inc. affirms that the provided translation was produced in
    according to our ISO 9001:2015 and ISO 17100:2015 certified quality management
    system, and also that the agents responsible for said translation(s) are qualified to
    translate and review documents for the above language pair, and are not a relation to
    any of the parties named in the source document(s).


    Sworn to before me this
    Monday, December 10, 2018


                                                       Michael John         Jr., Trans!




            Signature, Notary Public




            Stamp, Notary Public
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CALIFORNIA JURAT WITH AFFIANT STATEMENT                                                                 GOVERNMENT CODE § 8202
zee_C - -CieabS,t,S.tes^Z-PC,c,P,L.,n;e'<•:&<'&<",t<•&'< 7.'&-,K;c<",t<;•L-<.•                                   ,C%"..00=&<`,,,tr•rtntsP&S-&01

   See Attached Document (Notary to cross out lines 1-6 below)
   See Statement Below (Lines 1-6 to be completed only by document signer[s], not Notary)




                                                                                 et:




          Signature of Do                  Signer No. 1                          Signature of Document Signer No. 2 (if any)


  A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
  document to which this certificate is attached, and not the truthfulness, accuracy. or validity of that document.


State of California                                                       Subscribed an sworn to (or affirmed) before me
County of        Li          A            t/f                                                44--
                                                                          on this       \'          day of      9ce4 vi love          ,   20   11 ,
                                                                          by            Date                        Month                      Year

                                                                                                    el, At..1             Nify
                            PAUL W. PEDERSON
                       NOTARY PUBLIC- CALIFORNIA
                         COMMISSION * 21117280
                                                           g                                                          •



                          LOS ANGELES COUNTY                              (and (2) .-
                        My Comm. Exp. April 16, 2021
                                                                                                      Name(s) of Signer(s)

                                                                          proved to me on the basis of satisfactory evidence
                                                                          to be the perseks) who appqared before me.


                                                                          Signature
                   Place Notary Seal Above                                                          Signature of Notary Public

                                                                 OPTIONAL

   Though this section is optional, completing this information can deter alteration of the document or
                   fraudulent reattachment of this form to an unintended document.

Description of Attached Document

Title or Type of Document:                1- SZ.A.                                                  Document Date:                     0/1q
Number of Pages:                 1   Signer(s) Other Than Named Above:                          t•I. • 0     L
.].<24;•0<;;<,:cWZ.)<AXX X=c;/,,,r.A.,;(4,<,                                                                                  ,sc.<;`‹X.X2.(      7,,X

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      IX. Regarding Order No. 9 in the Final Judgement

50.   The Petitioners [sic: Respondent] have already made payment to the 1st Petitioner [see Appendix 7];
      the 2nd Petitioner has been refusing to provide the Respondent with the information of a valid
      account within China, which has caused the Respondent to be unable to make payment to the 2nd
      Petitioner;

51.   The 1st Petitioner has already provided the Respondent with the information of a valid account
      within China. The Respondent, on May 2, 2018, has already paid 50% of the Final Judgement to the
      1st Petitioner, i.e. RMB 5,173,105.5. The Respondent has thereby already performed its obligation
      to pay compensation for damages to the 1st Petitioner.

52.   As this arbitration judgement order confirms that the Respondent must use RMB as the currency for
      the payment, therefore, the Respondent is only obligated to make payment to the 2nd Petitioner in
      RMB, and that there is no obligation for the Respondent to make the payment in any other
      currency. As stated in the Respondent’s April 2, 2018 letter, due to the requirements of the laws of
      China’s foreign exchange control, if the petitioning party wishes the payment to be made into a
      foreign account, the petitioning party shall go together to a bank in China to learn specific
      procedures for overseas payments. However, the 2nd Petitioner has never responded to this fact.

53.   Even though subsequently, the Respondent made multiple requests on April 30, 2018 and July 11,
      2018 to the 2nd Petitioner for a valid domestic RMB account, the 2nd Petitioner has been refusing
      this request, therefore, responsibility for failure to perform this order should not be placed on the
      Respondent.




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                EXHIBIT 9
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Charles Michael
212 378 7604
cmichael@steptoe.com

1114 Avenue of the Americas
New York, NY 10036
212 506 3900 main
www.steptoe.com




December 31, 2018

Eva Yao
DLA Piper
36/F, Shanghai World Financial Center 100 Century Avenue, Pudong
Shanghai 200120
China

Re:      HKIAC / A13028
         Your Reference: EMY/EY/KNC/402610/1 / ASIAM/23775730.2)


Dear Ms. Yao:

         Our firm represents respondent Stephany Yu in the above arbitration.

       On behalf of Ms. Yu, I enclose a check for RMB5,173,105.5 in full satisfaction of the
remaining unpaid amount under Order No. 9 of the award dated February 28, 2018. The code to
deposit the check is 6707 2186 4921 6586



         Please do not hesitate to call or email me with any questions.

                                                      Sincerely,

                                                      /s/ Charles Michael

                                                      Charles Michael

cc:      Ernest Yang (ernest.yang@dlapiper.com)
         Andrew Chin (andrew.chin@dlapiper.com)
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              EXHIBIT 10
                   Case 8:18-cv-03546-PWG Document 31-2 Filed 02/15/19 Page 79 of 89

Michael, Charles

From:                                       Michael, Charles
Sent:                                       Wednesday, January 02, 2019 7:37 PM
To:                                         Cash, Steven A.
Cc:                                         Baratz, Michael
Subject:                                    Estate of Ke Zhengguang v. Stephany Yu, 8:18-cv-03546-PWG (D. Md.)
Attachments:                                2018.01.02 - Letter to S. Cash.pdf


Mr. Cash:

Please see the attached letter.

Regards,

Charles Michael
Partner
cmichael@Steptoe.com


Steptoe
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+1 646 526 5131 mobile           1114 Avenue of the Americas
+1 212 506 3950 fax              New York, NY 10036
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                                                                             1
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Charles Michael
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January 2, 2019

By Email

Steven A. Cash
Day Pitney LLP
1100 New York Avenue, NW Suite 300
Washington, D.C. 20005
scash@daypitney.com

Re:      Estate of Ke Zhengguang v. Stephany Yu, 8:18-cv-03546-PWG (D. Md.)

Dear Mr. Cash:

         As you know, we represent respondent Stephany Yu in the above case.

       I enclose a copy of a letter sent to your client’s counsel in China transmitting a check for
RMB5,173,105.50 in full satisfaction of the remaining unpaid amount under the Order that is
sought to be enforced by the petition in this case: Order No. 9 of the HKIAC arbitration award
dated February 28, 2018 (Case No. A13028). The letter includes a copy of the check itself, and
we have included for your convenience a certified translation of the check, as well.

        You may be aware that Ms. Yu has at all times been willing to make this payment, and
has repeatedly sought your client’s cooperation in doing so, to no avail. Your client has to date
been unwilling to supply the bank account information necessary to send RMB5,173,105.50 via
wire, apparently preferring to initiate this litigation instead.

        In any event, with this payment, the petition in the above case is moot since there is no
case or controversy to be heard. We therefore request you voluntarily dismiss the petition.

         Please let us know if you are agreeable to executing a stipulation of dismissal.

       If you have any questions or would like to discuss the matter further, I can be available at
your convenience.
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Steven A. Cash
January 2, 2019
Page 2


                                               Sincerely,

                                               /s/ Charles Michael

                                               Charles Michael

Enclosure
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Charles Michael
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December 31, 2018

Eva Yao
DLA Piper
36/F, Shanghai World Financial Center 100 Century Avenue, Pudong
Shanghai 200120
China

Re:      HKIAC / A13028
         Your Reference: EMY/EY/KNC/402610/1 / ASIAM/23775730.2)


Dear Ms. Yao:

         Our firm represents respondent Stephany Yu in the above arbitration.

       On behalf of Ms. Yu, I enclose a check for RMB5,173,105.5 in full satisfaction of the
remaining unpaid amount under Order No. 9 of the award dated February 28, 2018. The code to
deposit the check is 6707 2186 4921 6586



         Please do not hesitate to call or email me with any questions.

                                                      Sincerely,

                                                      /s/ Charles Michael

                                                      Charles Michael

cc:      Ernest Yang (ernest.yang@dlapiper.com)
         Andrew Chin (andrew.chin@dlapiper.com)
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                                                                               Case 8:18-cv-03546-PWG Document 31-2 Filed 02/15/19 Page 86 of 89
Payment deadline is ten days from the issue date



                                                                   Agricultural Bank of China Check                                                                    10303130
                                                                                                                                                                         32361895
                                                   Issue date (in letters): December 28, 2018          Payer bank name: Agricultural Bank of China Changning District Dingxi Road Sub-Branch
                                                   Payer: [handwritten: Zhang Yuejin and Ke Yeying                     Issuer account number: 03303400801065969
                                                   RMB       [handwritten: Five Million, One      Hundred Ten        Million Hundred        Ten        Thousand Hundred Ten          Yuan Ten      Cents
                                                   (in       Hundred and Seventy-Three            Million    Million            Thousand Thousand                                            Cents
                                                   letters) Thousand, One Hundred and Five                   /       5          1           7          3           1          0      5       5     0
                                                             Yuan and Fifty Cents]
                                                   Purpose: [handwritten: Execution of Final Ruling HKIAC/A13028 Order 9                         Password: ____________________________________
                                                   Please pay the above amount                                                                   Bank number: 103290043098
                                                   from my account                  [seal: Shanghai Lvting Real           [seal: Seal
                                                   Seal of issuer                   Estate Development Co., Ltd.          of Yu
                                                                                 Special Seal for Finance]              Naifen]                                                     [seal:
                                                                                                                                                                                    Password
                                                                                                                                      Reviewer        Accountant                    verified]
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                                                         Additional information:   Endorsee                                 Endorsee



Zhejiang Laizhihua Printing Co., Ltd., printed in 2017




                                                                                                                                                                        (Affix Form)
                                                                                                         Seal of endorser                            Seal of endorser
                                                                                              (month)     (day) (year)                     (month) (day) (year)
                                                                                                        Name of identification document:     Issuing authority:

                                                                                                        Number:
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